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                EXHIBIT A




                EXHIBIT A
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               SUMM
          2    Leon Greenberg, NSB 8094
          3
               A Professional Corporation
               633 S, 4 t" St,, suite 4
          4    Las Vegas, NV 89101
               702-383-6085
      5        Attorney    for Plaintiffs
      6
                                                            DISTRICT COURT
      7
                                                      CLARK COUNTY, NEVADA
      8

      9        DEBRA  PITTMAN. ROSALYNE R.
               SMITH, MARKOS MENDOZA, RINEO
     10        VLIJTER and EDITH MARSHALL,
 11
               individually          and    on    behalf      of
               all   others       similarly situated
 12                                                                           CASE      NO.A
 13
                                            Plaintiff(s),                      DEPT. NO.
 14                                 -VS-

 15           WESTGATE        PLANET
                               HOLLYWOOD LAS
              VEGA   S, LLC.,
                            WESTGATE RESORTS
 16           INC., WESTGATE RESORTS LTD.,
 17           CFI SALES & MARKETING, LTD.,
              CFI SALES & MARKETING, LLC.,
 18           CFI SALES & MARKETING, INC.,
              DAVID A. SIEGEL, RICHARD SIEGEL
 19           and "John Doe" entities 1 to
2O            25, name and number unknown,
21                                           Defendants
22

23                                      SUMMONS CIVIL
24            NOTICE! YOU HAVE BEEN SUED. THE COURT MA_•E_A_GAINS_T Y_O_U
              WITH-O-OT YOUR BEING HEARD UNLESS YOU RESPOND WITHIN 20 DAYS.
25            READ THE INFORMATION BELOW.
26
              TO THE      DEFENDANT(S):          A civil   Complaint   has been filed   by   the   Plaintiff(s) against
27
              you for the relief set forth in the Complaint.
28
                     1.      If you intend to defend this lawsuit, within 20 days after this Summons
                             is served on you, exclusive of the day of service, you must do the
                              following:                                                             SUMM Civ11/4/16/2009
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      I                  (a)    File with the Clerk of this Court, whose address is shown below,               a
      2                         formal written response to the Complaint in accordance with the
      3                         rules of the Coud, with the appropriate filing fee.
      4                  (b) Serve    a   copy of your response upon the attorney whose               name   and
                                address is shown below.
                         Unless you respond, your default will be entered upon application of the
      7                  Plaintiff(s) and failure to so respond will result in a judgment of default
                         against you for the relief demanded in the Complaint, which could result
                         in thetaking      of money   or   property    or    other relief requested in the
 10                      Complaint.
 11                  If you intend to seek the advice of an attorney in this matter, you should do
 12                  so promptly so that your response may be filed on time.
 13                       The State of Nevada, its political subdivisions, agencies, officers,
 14                      employees, board members, commission members and legislators
 15                      each have 45 days after service of this Summons within which to file                      an
 16                      Answer or other responsive pleading to the Complaint.
 17

 18

                                                                                        •
                                                                       CLERK OF THE COURT
19

20

21
               LEON
                       GRE•
               Submitted       by:
                                                                      By:.
                                                                               Deputy
                                                                             Regional
                                                                                        Clerl•.•-J,
                                                                                        Justi• •'PR
                                                                                                             Date
                                                                                                              •6
22
               633 S. 4 th   Street, Suite 4                                  200 Lewis Avenue
23             Las Vegas, NV         89101                                    Las Vegas. NV 89155
               702-383-6085
24             Attorney-for-P-laintiffs-
25
                NOTE: When service is           by publication,
                                                              brief statement of the
                                                                        add     a
26
                 of the action. See Nevada Rules of Civil Procedure 4(b)
27

28



                                                                                               SUMM Civil/4116/2009
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      1     .AFFIDAVIT OF SERVICE
            STATE OF NEVADA )
      2
                                               )              ss:
      3     COUNTY OF CLARK                    )
      4                       being duly      sworn, says: That at all times herein affiant was and is over
      5
            18 years of age, not        a    party   to       nor   interested in the    proceeding   in which this affidavit
      6
            is made. That affiant received                               copy(ies) of   the Summons and       Complaint,
      7

     8             on   the             day    of
                                                     •,
                                                                    20            and served the   same on    the            day
     9      of•, 20                    by:
 10                             (Afflant      must            complete the appropriate paragraph)
 11
            1.    Delivering and leaving                  a    copy with the Defendant                at   (state address)
 12

 13
           2.     Serving the      Defendant     by personally delivering and leaving a copy with
 14
                  •,
                          a person of suitable age and discretion residing at the Defendant's
 15
                  usual place of abode located at (state address)
16
                     [Use paragraph 3 for service upon agent, completing (a) or (b)]
17
           3.     Serving the Defendant.         by personally delivering and leaving a copy at
18
                  (state address)
19
                  (a) With           as         an agent lawfully designated by statute to accept
20
                              service of process;
21
                  (b)         With          pursuant to NRS 14.020 as a person of suitable age and
                              discretion at the above address, which address is the address of the
23
                              resident agent as shown on the current certificate of designation filed
24
                              With-the-S•c•a• b-f -S•ate:
25
           4.     Personally depositing              a        copy in    a   mall box of the United States Post Office,
26
                  enclosed in      a   sealed        envelope, postage prepaid (Check appropriate method):
27
                                                           !-1 Ordinary mail
28                                                         I--I Certified mail, return receipt requested
                                                           [•] Registered mail, return receipt requested
                                                                              3
                                                                                                             SUMM Civil/411612009
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             addressed to the Defendant                 at Defendant's last known address which
 2           is
 3
             (state address)•
 4

                  declare under   penalty of perjury   under the law of the State of Nevada that the

      foregoing     is true and correct.
 7
             EXECUTED this                 day of__, 20___..__.
 9


                                                       Signature   of person   making service
11

12

t3

14



16



18

19

2O

21

22

23

24

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26

27




                                                        4
                                                                                      ,.•UMM Civ11/4116/2009
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        CO•
                                                                                       FILED
  2     Mark R.        Thierman,         NSB      8285
        THIERMAN         LAW    FIRM
  3     7287  Lakeside Drive
        Reno, NV 89511
  4     Telephone (775) 284-1500
  5     Leon     Greenberg,NSB 8094
        A   Professional  Corporation
  6      633 South 4 th Street    Suite                       4
        Las Vegas, Nevada 89101
  7     Telephone         (702)        383-6085
  8     Attorneys         for        Plaintiffs
  9                                                      DISTRICT             COURT
I0                                                 CLARK           COUNTY,      NEVADA
                                                                                                      'A+587995
II      DEBRA     PITTMAN,           ROSALYNE       R.                                        Case    No.
       SMITH,      MARKOS    MENDOZA, RINEO
12     VLIJTER         and EDITH MARSHALL,                                                   Dept.     No.
        individually            and     on   behalf      of
13     all      others     similarly situated,
 14                                  Plaintiffs,
 15
 16    WESTGATE       PLANET HOLLYWOOD LAS                                            ARBITRATION             F•EMPTION
       VEGAS,      LLC., WESTGATE RESORTS                                             CLAIMED BECAUSE THIS
 17     INC.,     WESTGATE RESORTS LTD.,                                              IS A CLASS ACTION
       CFI SALES & MARKETING, LTD.,                                                   CASE
18     CFI SALES & MARKETING, LLC.,
       CFI SALES & MARKETING, INC.,
19     DAVID A. SIEGEL, RICHARD
       SIEGEL and mJohn Doe" entities
2O     I to 25, name and number
       un kn own,
21
                                      De fendant    s.
22
23__
                                       cLA•s      ACTION COMPLAINT FOR VIOLATION
24                                           OF   STATE AND FEDERAL LABOR LAWS

25                 Now     comes        Plaintiffs,               for   themselves      and     all    others      similarly
26        situated,            and     allege the following                   upon    personal knowledge             as    to

27        themselves            and     their,     own   acts,          and   upon    information           and   belief    as

28        to     all    other        matters:
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          1                                                                JURISDICTION                     AND     VENUE
      2                          i.           This           Court       jurisdiction pursuant to Section 16(b)
                                                                        has                                                                                                           of
      3          the            Fair        Labor            Standards Act, 29 U.S.C. •216(b), which provides,
      4          "An            action         to           recover  the liability prescribed in either of the
      5          preceding                    sentences              may       be maintained                       against .any employer...in any
      6          federal                or     state           court          of    competent                jurisdiction by                          any     one          or

      7          more            employees for and in behalf of himself or                                                                    themselves              and
      8          other            employees similarly situated." Consent                                                                  to     Joinder          forms
      9          have           been         filed           with       this        Complaint.
 |0                             2.           Venue           is     proper          in    the         District         Court                   of    Nevada,           Eighth
 |!              Judicial                   District,               because          Defendants                   conduct                business           in     Clark
 |2             County Nevada,                              plaintiffs              reside            in Clark         County,                      Nevada,
 |3              Plaintiffs                   worked              for    defendants                   in     Las    Vegas,'and                       the    acts
 14             complained                    of        herein          happened            in        or     aroundLas                     Vegas.
 15             BAeKGR0USD•CD PART•S
 16                    3.               Plaintiffs                   DEBRA          PITTMAN,                ROSALYNE                R.     SMITH,          MARKOS
 17           MENDOZA,                RINEO            VLIJTER          and        EDITH     MARSHALL,                 (the "individual
 |8           plaintiffs"),                        on       behalf       of        themselves                and     all        others      similarly
|9            situated  (collectively •Plaintiffs"),                                                         by    their             hndersigned
20            attorneys, bring this action against                                                         defendants                    WESTGATE           PLANET
2|            HOLLYWOOD                LAS     VEGAS,               LLC.,          WESTGATE            RESORTS         INC.,                   WESTGATE          RESORTS
22            LTD.,         CFI        SALES            &    MARKETING,              LTD.,            CFI     SALES         &        MARKETING,               LLC.,             CFI
25                          &    MARKET•ING,-                 INC.,-DAVID A.                         SIEGEL,        .RICHARD                   S-I-EGE-L    and        •John
24            Doe"     entities                    1    to    25,       name        and    number             unknown                    (•Westgate"             or

25            "defendants").
26                     4.             The     defendants                 "John            Doe"         entities                 1        to     25    are        named
27            fictitiously                     and           their         exact           legal            names          and            the        number           of        such
28            defendants                     are        unknown             (the         "John         Doe        Defendants").                        Such

                                                                                                 2
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           defendants      legal entities
                                    are                                     that              are     part of the Westgate
           Timeshare Business Enterprise                                       (the •WTBE")                     that        is     described           herein
      3    and are alleged to be liable                                   to        the        plaintiff               in    the     same        fashion              as

      4    the    identified                   defendants,            and      such            •John         Doe"       defendants               shall           be
      5    precisely               identified            and      named        in        this         case        at    a    later       date         when
      6    sufficient               information              as     to    the        same
                                                                                                    Becomes            available           to        the
      7    plaintiffs.
     8             5.              The     defendants             DAVID        A.        SIEGEL           and      RICHARD           SIEGEL           for    the
     9     purposes           of     the        claims       made        herein               under       the      Fair          Labor     Standards
 10       Act,     29     U.S.C.               • 201    et     seq.         (the "FLSA")                   are         deemed        employers under
 11        the    FLSA they have acted on behalf of an employer and/or acted
                              as                                                                                                                                      as

 12       an  employer by willfully, intentionally, knowingly or otherwise
 13       promoting, allow•ng, directing or otherwise creating the
 14       compensation policies alleged herein that violate the FLSA, such
 15       individual                defendants            also        e•ercising                    the    power            they     had    within           the
 1'6      WTBE     to     continue,               create,          or     allow            such       policies               to     flourish           and
 17       remain         in    existence.
18                 6.          The        identified              defendants                   that       are      part of the              WTBE           and
19        are     corporations                   or    other       business               entities              are         formed       pursuant            to
20        the     laws        of     the        State    of Nevada              or        another            jurisdiction                  and        are

21        currently conducting                          business            in the              State        of        Nevada       or     have        within
22        the     relevant               time     period          conducted               such        business               either        directly               or

23-- • h•ugh              their           affiliate•              a•entS        or        en•iti•s £hat                      are    part        of     the
24        WTBE.
25                 7.         The        WTBE     consists          of      all          of     the       defendants,               such        business
26        being engaged                   in     the    sale,       creation,                   development                  and    management               of
27        timeshare        properties throughout the United States, including in
28        Nevada,        Arizona, Florida, Missouri, Mississippi, South Carolina,

                                                                                     3
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 I    Tennessee,           Utah        and        Virginia.
 2               8.      The WTBE             derives         over     $I00 million per                 yearof      revenue

 3    from       the   developing,                 marketing,          management and sales                   of   fractional

 4    interests          in     •time-share"              condominiums               and   resorts.

 5               9.      The     individual              plaintiffs wereemployed                         as   marketing
 6    personnel          in     the     WTBE's          Las    Vegas     time        share     sales      business     during
 7    the     years immediately preceding the filing of this lawsuit. The
                six
  8 individual plaintiffs worked in a variety of positions,
                                                                including
  9 OPC, Greeter, and Marketing Manager, Marketing .Supervisor, Assistant
10 Marketing Director, General Manager.      WTBE either paid or promised

11 to pay the individual plaintiffs either the greater of an hourly
12 wage or commissions earned each week or a salary plus commissions.
13        10.    Upon information and belief, the WTBE employed hundreds or
14    thousands          of     such         marketing personnel                 within        the      United     States     on    a

      commission           only basis within the last three years.
16               II.     The      individual               plaintiffs seek certification of this case
17    as    a    collective            action           of all similarly situated marketing personnel
18    who       Worked     for        the     WTBE        within the last three (3) years immediately
19    preceding          the      filing           of     the Complaint and who, as alleged herein,
20    have       claims        under         the     FLSA,     pursuant         to    29     U.S.C.      §216(b).
21               FACTUAL ALLEGAT•ONS
22               12.   employs marketing personnel like the individual
                          The     WTBE

23 •-laidtiffs who work on defendants premises, meaning locat•ons rented
24 by the defendants that are. within other large privately owned places
25    of     public accommodation,                        including       the        Planet       Hollywood        Casino     and

26    Showcase         Mall       in        Las    Vegas,      Nevada.
27               13.      The     marketing personnel employed by                                 the    defendant      in    the

28    positions           of    OPC         and    Greeter       are    promised           that      they will      receive,
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            for    each   week        of        their         work,   the      greater           of     an        hourly    rate    of pay        or

            the    commissions              or piecework payments                         that         they        earn.

      3             14.         The        plaintiffs who worked                      as        OPC     or        Greeter    also        were

      4    promised       a     set        amount piecework payment for every
                                                         of     commission           or    a

     5 individual they successfully convinced to participate in a timeshare
      6 sales presentation by the defendants' sales personnel and during
      7 certain periods of time were also promised an additional commission
      8 or piecework payment based upon the volume of persons they convinced
     9     to     participate              in    a     timeshare       sales         presentation that actually
 10        bought timeshares from defendants.
 11              15.   The plaintiffs who worked as Marketing Manager, Marketing
 12        Supervisor, Assistant Marketing Director, or General Manager were
 13        paid a salary a•d also were promised certain commission or piecework
 14        payments based              upon            how    many    persons         the        OPC     and        Greeters       convinced
 15        to participate               presentation g•venby the
                                       in        a     timesharesales
16 defendants' sales personnel and during certain periods of time were
17 also promised an additional commission or piecework payment based
18 upon the volume of persons they convinced to participate in a
19 timeshare sales presentation that actually bought timeshares from
20         defendants.
21                  16.       One     or        both     of     the   defendants               David         A.     Siegel and Richard
22   Siegel are the owners in whole or in part of the WTBE and are
23-- -responsible for making decisions, or ratifying the decisions of
24 other policy makers, as to the compensation policies used by the
25 WTBE for the plaintiffs.
26                 17.        The     various            nom£nally separate legal                             entities       making         up
27         the    WTBE    are,        for        the     purposes         of   the        Fair        Labor        Standards        Act     and
28         the    other       claims            made     herein,      a     common         or     joint enterprise                  or


                                                                               5
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            partnership                        collectively, jointly and severally liable
                                              that        is                                                                                                 to

      2     all     of        the    putative plaintiffs described herein.
      3              18.            None of the defendants' marketing persons working in.                                                                    the
      4     position            of        OPC        or        Greeter          receive         any    extra           overtime            pay    for     work
      5     in        forty (40) hours per week and they regularly do perform
                   excess           of
      6 such work, such persons only receive payment of the commissions or
      7 piecework payments they earn in such weeks.
      8              19.            WTBE,            which               is in the business                  of       selling         real       estate,          ks
     9     not      engaged,              in     an       industry .having a "retail concept" as that term
 |0         is    defined                by     the       United States Department of Labor at Subpart D of
 ]|         Part     779        of        Title           29 of the Code of Federal Regulations.
 |2                  20.            None         of       the defendants' marketing persons working in the
 ]3        position             of        OPC        or     Greeter are engaged in "sales" activities in
 |4        that      such           persons               do not sell a retail or other product or service
 |5        and,      in       fact,             sell       nothing whatsoever, as their function is to
 16        persuade people                           to    participate in timeshare sales presentations.
 17                 CLASS            AND         COLLECTIVE                  ACTION        ALLEGATIONS
18                  21.             Pursuant                   to    Section          16(b)      of    the        FLSA,        the     individual
|9         plaintiffs bring                   Complaint as a collective action (also
                                                      this
20         commonly referred             to as an "opt-in" class), on behalf of themselves
2|         and     all        persons similarly situated within the class of marketing
22         persons            employed by the WTBE in OPC or Greeter positions in the
2•                       of    Nevada                within t£ree                    (3)     years     of     the       filing of th•s
24         Complaint                until            entry           of    judgment           af.ter    trial.
25                  22.             In        respect               to    the   Nevada         statutory               claims        set     forth      in        the
26         Second         and        Third            Claims              for   relief,         and     the           breach     of     contract          and
27         conversion                claims               set        forth      in     the     Fourth        Claim        for        relief,        the
25         individual                plaintiffs bring this                                 action       as        a    class     action          pursuant
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            to   N.R.C.P           Rule        23           on        behalf           of       themselves                   and        a       subclasss              of    all
      2     similarly situated marketing                                               persons     employed by the WTBE in the
      3     State     of     Nevada            in           the        OPC        and       Greeter position in respect to the
      4     Second        Claim         for        relief,               and           as    a class  of all similarly situated
      5     marketing persons employed by                                               the          WTBE         in        the    State              of        Nevada       on     the
      6     Third     and        Fourth            Claims damages from  for        Relief             who         sustained
      7 defendants' breach of its contracts with its marketing personnel
      8 within six (6) years or such other applicable statute of limitations
      9 of the filing of this Complaint .until entry of judgment after trial.
 ]0
 ||                 23.          Plaintiffs                      are     informed                    and     believe,                   and      based            thereon
 |2        allege that there                           are        at     least              500       putative                class             and        subclass
 |3        members.              The    actual                   number           of        class           and        subclass                 members              is     readily
 |4        ascertainable                by         a    review               of     the          WTBE's            records                  through appropriate
 |5        discovery.
 |6                 24.      The        number                   of     class           members              is        so     numerous                 that          joinder         is
 |7        •mpracticable.and                           would            involve                 hundreds               or     thousands                    of     actions.
|8         Dispogition             of     these                  claims           in        a    class        and/or               collective                     action
19         rather         than     in     individual                         actions                 will     benefit               the          parties              and     the
20         Court.
2]                  25.      There            is        a        well-defined                        community                of    interest                    in    the
22         questions         of        law     and                  affecting the class
                                                                 fact                                                              as       a    whole.
                    26.      Proof            Of        a     common or single set of                                             facts          will           establish
24         the   right       of        each            member           of        the           class        and        subclass                 to        recover.
25         These        questions of law and
                     common                                                                          fact     predominate                        over           questions
26         that affect only individual class                                                         members.                The        individual
27         plaintiffs' claims are typical of                                                         those        of        the     class             and        the
28         subclass.

                                                                                                 7
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          1              27.     A    class           or    collective                superior to other
                                                                                   action              is
      2         available        methods              for     the    fair and efficient adjudication of the
      3         controversy.               Due        to    the     typicality of the class members' claims,
      4         the     interests          of        judicial         economy               will       be     best        served        by
      5         adjudication           of        this       lawsuit         as     a
                                                                                            Class           action.         This        type of          case
      6         is    uniquely well-suited                        for      class            or     collective              treatment              since      I)
      7         the    employer's practices                         were     uniform;                  2)     the        burden       is     on    the
      8         employer       to     prove    employer must demonstrate it
                                                      any    exemption;                3)        the
   9 has compensated theclass members in compliance with their contracts
 io of employment; and 4) the burden is on the employer to disprove the
 11 hours of overtime claimed by the employees.
 12       28.   The individual plaintiffs will fairly and adequately
 13 represent the interests of the class and the subclass, and have no
 14 interests that conflict with or are antagonistic to the interests Of
 15            the     class    or     the           subclass.
 16                     29.     The     individual                  plaintiff•                   and    counsel            are    aware           of   their
 17            fiduciary responsibilities to                                 the           class        members            and    are        determined
18             to diligently discharge those                                 duties               by vigorously seeking                            the
19             maximum   possible recovery for the class
20                   30.   There is no plain, speedy, or adequate remedy other than
21             by maintenance of this class action.    The prosecution of individual
22             remedies by members of the class will tend to establish inconsistent
               standards        of    conduct               for     the    defendants and                       result           in    the        impairment-
24             of     class    members'              rights         and    the disposition                          of    their        interests
25             through actions                  to    which         they    were            not        parties.
26                        FIRST       CLAIM           FOR     RELIEF        UNDER                THE    FAIR        LABOR        STANDARDS             ACT
27                      31.     The    individual      plaintiffs repeat the allegations set forth
28             in     paragraphs       1     through 30 as if each were separately and completely

                                                                                       8
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            set        forth        herein.
      2                 32.         The           defendant,               the    WTBE           is    in     the        business            of    developing
      3     and    marketing                      time-share               condominiums                     and    resorts.             The        WTBE
      4     includes               real     companies required to
                                                  estate                                                            be        licensed            by    the     Real
      5     Estate            licensing au£horities in the states                                                   in        which     it        does
      6
           ibuslness.
      7                 33.         The           business        marketing time-share condominiums
                                                                      of                                                                                  and
      8     resorts               is not            a    retail business as that term is defined by                                                       the
      9    United             States              Department               of    Labor           at    Subpart            D    of     Part        779    of    Title
 10        29     of     the        Code            of    Federal  Regulations and the activities of                                                      the
 11        plaintiffs                    in       the     position of OPC or Greeter in furtherance                                                       of     that
 12        business                are        not        subject to any exemption from the FLSA's
 13        "requirements                      in        respect        to       the    payment of overtime                             or     minimum
 14        wages.
 15                    34.          By their conduct,                            as    set        forth           herein,           defendants            violated
 16        29     U.S.C..           •207(a)               by failing              to    pay           the     FLSA        Class        time        and    one-half
 17       regular hourly rates for hours worked in excess of forty (40)
           their
 18 hours during a workweek and at certain times violated 29 -U.S.C. •
 19 206 by failing to pay a minimum wage to employees during certain
 20 weeks of employment.
21                     35.          As        a    result        of        the    unlawful              acts        of        defendantS,               the
 22        •ndividual                plaintiffs                  and        the  plaintiff class                              members         have       been
23- d•prived of overtime                                        pay        and/0r minimum wages                               in    amounts-to •e
24         proven            at     trial.
                       36.         At         all        relevant           times,       the           WTBE        was        aware     of        the    duties
26         performed               by         the        individual.plaintiffs                              and     the        FLSA     Class           and    was

27         also        fully         aware               that    the        duties       of           the     individual              plaintiffs               and
25         the     FLSA           Class            Members        were           inconsistent                     with        exempt        status,           and

                                                                                             9
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           that     such          persons            were        and      are       not     exempt        from     the        overtime          and
     2     minimum              wage     provisions                of     the       FLSA.
     3              37.           Defendants'                violations               of     29        U.S.C.     •207(a)        and       29     U.S.C.
     4     • 206       were        repeated,                willful           and     intentional.
     5              38.           The     individual                  plaintiffs,             on        behalf     of     themselves              and      all
     6     of    the       FLSA         class        members   by filingwho     choose        to        join     this     action
   7 written consents to joinder with the Court, demand judgment against
   $ defendants for the unpaid balance of overtime compensation and/or
   9 minimum wages, plus an equal amount as liquidated damages, along
 ]0 with reasonable attorneys' fees and costs of suit, and such other
 II relief as the court deems proper and just.
 12             SECOND           CLAIM         FOR     RELIEF" t•D•R                 NEVADA' S LABOR                   LAWS
 13                 39.           The     individual                plaintiffs repeat                      the allegations                  set       forth
14        in     paragraphs               1     through            38    as     if    each        were     separately and                  completely
I5        set     forth           herein.
16                 40.            The     individual                plaintiffs bring                      this     Second        Claim          for
17        Relief           against the                defendants                pursuant           to     NRS     § 608.250,           for       non-

          payment           of     minimum            wages,            NRS     •    608.018,            for    non-payment            of       overtime
19        wages        and        NRS     § 608.019,                for       payment         of        unpaid     rest       periods,           on

2O        behalf           of     themselves               and      the       subclass            of     Nevada        OPC    and   Greeter
21        marketing employees.
22                 41.            Pursuant            to     NRS        § 608.250,            the       plaintiffs were entitled                             to
23        •n hourly minimum wage,                                and       pursuant           to       NRS S 608.018, they were
24        also     entitled               to     the       payment            of     wages        at     time     and     one-half          their
25        normal           hourly         rate        when    they worked in                       excess         of    8 hours        a    day       or     40
26        hours        a    week,         and        the    plaintiffs were                       not     paid     such       required           wages.
27                 42.             Pursuant            to     NRS        • 608.019,               the     plaintiffs           were        entitled
28        to    paid        rest        time         equal       to      10 minutes               for     every        4 hours      of      work        or


                                                                                      i0
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     1     major fra6tion                      thereof           each        day and the defendant                            failed       to     provide
     2     the paid rest                   time       required by such statute.
     3             43.             The             individual plaintiffs on behalf                                       of    themselves              and
     4     the     subclass            members,                 seek,        on     this       Second         Claim       for       Relief,        a

     5     judgment against defendants                                        for      minimum          wages       and/or          overtime           wages
     6     and unpaid rest time, such                                      sums        to    be    determined             based       upon        an

     7     accounting             of       the          hours     worked            by, and         wages          actually paid to,                    the
     8     plaintiffs,             and             also    seek         an      award        of    attorney's             fees,        interest          and

 9         costs,         as    provided                 for     by     Nevada          Law.

10               THIRD         CLAIM       FOR RELIEF                  UNDER N.R.S.                • 608.040
il                  44.         The        individual                 plaintiffs               repeat the allegations                           set     forth
12         in    paragraphs                1       through        43       as     if    each       were       separately             and     completely
13         set    forth         herein.
14                 45.            The          individual               plaintiffs bring this Third Claim for
15         Relief         pursuant                 to    Nevada         Revised             Statutes          § 608.040.
16                  46.         The        individual                 plaintiffs,                 and    numerous             members        of    the
17        plaintiff class, prior                                 to     the       initiation             of    this       litigation,              were

18        discharged or.resigned                                 from        their          employment with                   the    defendants              and
19        at     the      time     of          such       discharge               or    resignation                were       owed    unpaid           wages
20        by     the      defendant.
21                     47.         The             defendants              have        failed       and       refused          to    pay     such
22         individual            plaintiffs                    and      numerous             members          of    the       plaintiff           class
•- their earned but                                 unpaid        wages,            such       conduct         by    the       defendants
24        constituting                 a       violation              of     N.R.S.          § 608.020,             or    • 608.030             and
25        giving rise              to          a    claim        under          N.R.S.         • 608.040.
26                  48.            As          a    result        of       the     foregoing, the individual plaintiff
27        seek      on       behalf            of       himself         and       numerous  similarly situated members                                         of
28        the     plaintiff class,                         a     judgment against the                          defendants              for      the

                                                                                        ii
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      penalty prescribed by Nevada Revised Statutes • 608.040, to wit, for
 2    a sum  equal to up to thirty days wages, along with interest, 60sts
 3    and attorneys' fees.
            FOURTH         CLAIM        FOR     RELIEF           FOR BREACH                 OF     CONTRACT

 5             49.         The        individual            plaintiffs repeat                            the allegations set forth
 6    in    paragraphs 1 through                           48     as    if        each       were        separately and completely
 7    set    forth         herein.
 8             50..        That        pursuant            to     a    written              contract           or    series     of        written

 9    contracts,            the        defendants               promised               to    pay       the     individual           plaintiffs
I0    and    the     members             of    the        plaintiff               class          certain         commissions              or

II    piecework payments                       in     exchange              for        their       work        as   marketing persons
i2    for    the     defendants.
13             51.         The        defendants            breached               the       aforesaid              contracts            in     that

14    pursuant         to        such        contracts,               the     individual                 plaintiffs           and        the

15    members         of     the       plaintiff class should have received certain
16    commissions               or     piecework payments which the defendants failed to                                                               pay
17    the     individual               plaintiffs and the members of the plaintiff class.
18             52.         Upon        information                and       belief,              the     aforesaid        contracts                  were

19    uniform         and        all     of     proposed class members
                                               the                                                              were  promised .such
20    commissions               or     piecework payments, albeit on                                           occasion in differing
21    amounts.
22             53.         On     this        Fourth        Cause            of    action           for        breach   of     contract,               the
23- individual   plaintiffs seek class certification on behalf                                                                       of        all
24    similarly situated marketing personnel of the defendant                                                                       in        the    State

25    of    Nevada.
26             54.         As     a     result        of        the     foregoing,                 the       individual        plaintiffs
27    seek     on     behalf            of    themselves               and        numerous             similarly situated                       members

28    of    the      alleged            class        of    defendants'                   marketing personnel                        in        the    State

                                                                                  12
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     I    of   Nevada,         a    judgment against                     the     defendants                  for     the       sums       of     money

 2        owed   to      such       persons            as    a     result      of         the     defendants'.breach                        of    its

 3        writtencontracts                      to     pay       such    persons               commissions            or       piecework
 4        payments,           along with interest,                           costs         and        attorneys'           fees.

 5        p•XER         FOR    ,I•L•F
 6               WHEREFORE,                the       individual              plaintiffs                and     the    plaintiff                class

 7        members        demand        judgment against                       defendants                as     hereinafter                 set    forth,
 $        including,           inter        alia:
 9                                                                                        maintainable                          collective
                  (a)         Declare           this        action       to    be                                    as    a
10                                                                                               •216(b),                  direct
                              action        pursuant               to   29    U.S.C.                                and
11                                                        provide a list                         of    all                      employed by it
                              defendants               to                                                      persons
12
                              as    OPC     or       Greeter marketing                          persons        in    the       State of Nevada
13                                                     past three              (3)                      including
                              during        the                                           years,                               the        last    known
14                                              and     telephone              number            of    each                                that       the
                              address                                                                              person,          so
15                                               plaintiffs can give such                                                       notice           of     this
                              individual                                                                       persons
16
                              action        and an opportunity to make-an                                          informed           decision
17                                         whether to participate or not;
                              about


19                                                                                                     by            individual
                  (b)         Determine              the      damages          sustained                      the
20                                                                      plaintiff                                                                           of
                              plaintiffs               and       the                             class       members           as     a    result
21                                                      violations              of        29                   • 206       and        • 207,          and
                              defendants'                                                        U.S.C.
22                                   those-damages against defendants and in favor of the
                              award
23
                              individual plaintiffs and all members of the FLSA Class,
24
                              plus an additional equal amount as liquidated damages
25                                                                 •216(b),           and        such        pre-judgment                 interest
                              under        29     U.S.C.                                                                                                     as
26
                              may     be    allowed              by law;
27                            Certify                                           plaintiffs'                   claims       under           Nevada's
                  (c)                            the        individual
25                                                and               breach           of     contract           pursuant              to    N.R.C.P.
                              statutes                       for

                                                                                 13
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 l                  § 23     as     a   class      action       and       award     an    appropriate judgment
 2                  against         the     defendants          for       damages        to   the    individual

 3                  plaintiffs            and   class         members       who     sustained         damages          from

                    the     defendants'            breach       of their          contracts          and       violations

 5                  of Nevada's             statutes;
             (d)    Award         Plaintiffs         thei•      costs       and     disbursements               of    this

 7                  suit,     including            without       limitation,              reasonable            attorneys',
 $                  accountants'             and     experts'         fees;

 9            (e}   Grant         Plaintiff        and    the    Plaintiff           class        members           such     other

lO                  and     further         relief       as    the    Court       may     deem      just       and    proper.
II
12                  Plaintiff             further     demands         a    trial     by jury         on       all    issues     so
13                  triable.
14                                              Submittedby.             the attorneys               for       the

15                                              Leon      •enberg
                                                   Plaintiffs         and the Class,
                                                                              Professional            Corporation

                                                By:
17                                              Leon      Greenberg,              Esq.        •
                                                Nevada Bar No.: 8094
Ig                                              633 South 4 th Street   Suite                             4
                                                Las Vegas, Nevada 89101
19                                              (702) 383-6085
                                                Attorney for Plaintiffs
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21
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23-
24
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26
27
2•

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              Case 2:11-cv-01149-LRH-PAL Document 1-2 Filed 07/12/11 Page 20 of 26




          l     CONS
      2         Mark R. Thierman, NSB                       8285
                THIERMAN LAW FIRM
      3         7287 Lakeside Drive
                Reno, NV 89511
      4         Telephone             (775)     284-1500
      5         Leon  Greenberg, NSB 8094
                A  Professional Corporation
      6         633 South 4 t• Street   Suite
                Las Vegas, Nevada 89101
      7         Telephone (702) 383-6085
                Attorneys for Plaintiffs
      8
      9                                                             DISTRICT     COURT
 10                                                           CLARK COUNTY,         NEVADA
 ll
                                                                         X
 12            DEBRA         PITTMAN,          ROSALYNE      R.                           Docket            # A 587995
               SMITH,  MARKOS MENDOZA, RINEO
 13            VLIJTER and EDITH MARSHALL,                                                DEPT        NO.     XVI
               individually and on behalf of
 14            all others similarly situated,                                             NOTICE OF FILING OF
                                                                                          CONSENTS TO JOINDER                     UNDER
 15                                            Plaintiffs,                                29 U.S.C. • 216(b)
 16
 17            WESTGATE             HOLLYWOOD LAS
                                PLANET
               VEGAS,         LLC.,
                                 WESTGATE RESORTS
 18            INC.,     WESTGATE RESORTS LTD.,
               CFI SALES         &  MARKETING, LTD.,
 19            CFI SALES         &  MARKETING, LLC.,
               CFI SALES         &  MARKETING, INC.,
20             DAVID A.         SIEGEL, RICHARD SIEGEL
               and •John         Doe" entities 1 to
21             25,     name     and number unknown,
22                                            Defendants.
23
24
25                            SIRS:
26                           PLEASE     TAKE      NOTICE      that     annexed      hereto       are        Consents       to   Joinder
27              pursuant         to     29     U.S.C.       • 216(b)     which      are   to     be     filed       with    the     Clerk
28              of     the     Court      as     of   the    date    hereof    on    behalf       of        Debra    Pittman,
              Case 2:11-cv-01149-LRH-PAL Document 1-2 Filed 07/12/11 Page 21 of 26




          I      Rosalyne R. Smith, Markos Mendoza, Rineo Vlijter and Edith              Marshall
      2          Dated: April 16, 2009          Respectfully submitted,
      3
                                                          /s/ LEON
      4                                            By:
                                                   Leon   Greenberg,   Esq.
      5                                            Nevada Bar No.: 8094
                                                   633 South 4 t" Street    Suite    4
      6                                            Las Vegas,  Nevada 89101
                                                   (702) 383-6085
      7                                            Attorney for Plaintiffs
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     9
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     Case 2:11-cv-01149-LRH-PAL Document 1-2 Filed 07/12/11 Page 22 of 26




                               CONSENT   TO   JOINDER



                                                   Edith Marshall        by signing
below,      hereby    consents    to   join this    case    as   a   plaintiff pursuant
to    29   U.S.C.    216(b).



                                                           Edith'Marshall
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                               CONSENT   TO   JOINDER



                                                   Markos Mendoza        by signing
below,      hereby    consents    to   join this    case    as   a   plaintiff pursuant
to    29   U.S.C.    216(b).


                                                                                      •
                                                           •a•o•     Mendoza
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                         CONSENT    TO   JOINDER



                                              Debra    Pittman     by signing
below,   hereby   consents   to   join this    case    as   a   plaintiff pursuant




                                                      Debra     Pittman
     Case 2:11-cv-01149-LRH-PAL Document 1-2 Filed 07/12/11 Page 25 of 26




                               CONSENT   TO   JOINDER



                                                     Rosalyne     R.    Smith   by signing
below,      hereby    consents    to   join   this    case   as   a    plaintiff pursuant
to    29   U.S.C.    216(b).
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                               CONSENT   TO   JOINDER



                                                   Rineo   Vlijter by signing
below,      hereby    consents    to   join this    case   as   a   plaintiff pursuant
to    29   U.S.C.    216(b).
